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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           COLUMBUS DIVISION

ROBERT RALPH DIPIETRO,                *

       Plaintiff,                     *

vs.                                   *
                                               CASE NO. 4:18-CV-179 (CDL)
JAMES F. BARRON, et al.,              *

       Defendants.                    *


                                 O R D E R

       After a de novo review of the record in this case, the

thorough and exhaustive Report and Recommendation filed by the

United States Magistrate Judge on July 22, 2021 is hereby approved,

adopted, and made the Order of the Court.            The Court considered

Plaintiff’s objections to the Report and Recommendation and finds

that they lack merit.

       With this order, all of Plaintiff’s claims have now been

decided, and the Clerk shall enter final judgment in favor of

Defendants.

       IT IS SO ORDERED, this 29th day of September, 2021.

                                          S/Clay D. Land
                                          CLAY D. LAND
                                          U.S. DISTRICT COURT JUDGE
                                          MIDDLE DISTRICT OF GEORGIA
